             Case 2:22-cr-20059-MAG-DRG ECFAUSA:
                                           No. 1, PageID.1    Filed 12/14/21
                                                  Timothy P. McDonald          Page (313)
                                                                          Telephone: 1 of 5
                                                                                          226-9100
AO 91 (Rev. ) Criminal Complaint            Special Agent:         Sherri Reynolds               Telephone: (559) 273-0900

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan

United States of America
   v.
                                                         Case: 2:21−mj−30589
                                                         Assigned To : Unassigned
David MCNAIR                                             Assign. Date : 12/14/2021
                                                         CMP: USA v MCNAIR (MAW)




                                                   CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of             December 14, 2021              in the county of                Wayne     in the
         Eastern         District of       Michigan       , the defendant(s) violated:
                   Code Section                                          Offense Description
18 U.S.C. § 922 (g)(1)                                 Felon in Possession of a Firearm




           This criminal complaint is based on these facts:
See attached affidavit




        Continued on the attached sheet.
                                                                                          Complainant’s signature

                                                                                 Special Agent Sherri Reynolds, ATF
                                                                                           Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV

          December 14, 2021
Date:                                                                                        Judge’s signature

City and state: Detroit MI                                               Hon. Elizabeth A. Stafford, US Magistrate Judge
                                                                                           Printed name and title
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                         AFFIDAVIT IN SUPPORT OF

     COMPLAINT AND ARREST WARRANT FOR DAVID MCNAIR


      I, Sherri Reynolds, being first duly sworn, hereby depose and state as

follows:

           I.     INTRODUCTION AND AGENT BACKGROUND

      1.    I have been employed as a Special Agent with the Bureau of Alcohol,

 Tobacco, Firearms and Explosives (ATF) since December of 2009. I am currently

 assigned to the Detroit Field Division, Group I. I have had training at the Federal

 Law Enforcement Training Center in the Criminal Investigator Training Program

 and ATF Special Agent Basic Training.

      2.    The facts in this affidavit come from my personal observations and

 participation in this investigation, my training and experience, and information

 obtained from the Detroit Police Department, Michigan State Police, Drug

 Enforcement Administration, and other Agents and law enforcement personnel

 both generally and specifically involved in this investigation. I have not included

 each fact known to me concerning this investigation. Rather, I have set forth only

 the facts necessary to establish probable cause that David MCNAIR violated 18

 U.S.C 922(g)(1) (felon in possession of a firearm). This violation occurred in the

 Eastern District of Michigan.




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      3.   Based on the facts set forth in this affidavit, there is probable cause to

believe that on December 14, 2021, MCNAIR was a felon in possession of a

firearm, in violation of 18 U.S.C. 922(g)(1).

      4.   On December 14, 2021, ATF executed a federal search warrant at

25192 Chestnut Street, Taylor, MI. During the search of the residence, agents

located a Glock, model 21, .45 caliber pistol bearing the serial number VSD094

in the second to top drawer in a dresser on the left side of the bedroom where

MCNAIR and his significant other, Shantel Cottrell, both sleep. During an

interview with Cottrell, she indicated the gun and the money found in the dresser

did not belong to her.

      5.   Agents read MCNAIR his Miranda rights, which he indicated he

understood and agreed to talk to law enforcement officers. MCNAIR initially

denied knowledge of the firearm being in the dresser, but when confronted about

lying, MCNAIR stated the firearm was his and it had been in the dresser for

anywhere between 4-7 years. MCNAIR stated the gun stays in the drawer, so he

didn’t remember how long for sure. MCNAIR also indicated the money belonged

to him that was found in the dresser. MCNAIR indicated he thought it was

around $50,000.00, but he was not sure.

      6.   I conducted a criminal history check, which revealed that MCNAIR

has the following felony convictions:



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      -04/10/2007- Felony Controlled Substance possession of cocaine, heroin or

      narcotics 450-999 grams

      -05/06/2005- Felony assault with dangerous weapon

      8.     On December 14, 2021, ATF Special Agent Jonathan Wickwire, an

interstate nexus expert, verbally confirmed that a Glock, model 21, .45 caliber pistol

bearing the serial number VSD094, would not have been manufactured in the State

of Michigan and therefore had traveled in or affected interstate or foreign commerce.

                                  CONCLUSION

      9.     Based on the above information, I have probable cause to believe David

MCNAIR (B/M, DOB: XX/XX/1978), knowing that he had previously been

convicted of at least one crime punishable by imprisonment for a term exceeding

one year, did knowingly and unlawfully possess a firearm, that is:

   • Glock, model 21, .45 caliber pistol bearing the serial number VSD094

said firearm having previously traveled in interstate and/or foreign commerce, in

violation of Title 18, United States Code, Section 922(g)(1).




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                                               ________________________
                                               Special Agent Sherri Reynolds
                                               Bureau of Alcohol, Tobacco,
                                               Firearms and Explosives



Sworn to before me and signed in my
presence and/or by reliable electronic means


________________________________
Hon. Elizabeth A. Stafford
United States Magistrate Judge
Eastern District of Michigan

Dated:   December 14, 2021




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